              Case 3:13-cv-05765-BHS Document 99 Filed 12/29/16 Page 1 of 3




 1                                                                   The Honorable Benjamin H. Settle

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 7
                                      UNITED STATES DISTRICT COURT
 8                                   WESTERN DISTRICT OF WASHINGTON
                                               AT TACOMA
 9
     RICHARD HURRLE, individually and on behalf )
10   of all others similarly situated,          )             No. C13-05765BHS
                                                )
11                                Plaintiff,    )             STIPULATED DISMISSAL
                                                )
12            v.                                )
                                                )
13   REAL TIME RESOLUTIONS, INC.,               )
                                                )
14                                Defendant.    )
                                                )
15                                              )
16

17           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by and through

18   their attorneys of record, hereby stipulate to dismissal of Plaintiff’s individual claims in this

19   action with prejudice, and dismissal of the putative class claims without prejudice, with each

20   party to bear its own costs and fees.

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     STIPULATED DISMISSAL                                                         Davis Wright Tremaine LLP
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              Case 3:13-cv-05765-BHS Document 99 Filed 12/29/16 Page 2 of 3




 1           Stipulated and respectfully submitted this 29th day of December, 2016, by:

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                                                 Attorneys for Defendant
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              Case 3:13-cv-05765-BHS Document 99 Filed 12/29/16 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE
 2           I, Jennifer Rust Murray, hereby certify that on December 29, 2016, I electronically filed
 3   the foregoing with the Clerk of the Court using the CM/ECF system which will send
 4   notification of such filing to the following:
 5                    Kenneth E. Payson, WSBA #26369
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12                    Attorney for Defendant
13           DATED this 29th day of December, 2016.
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                                               TERRELL MARSHALL LAW GROUP PLLC
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